                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                               3:03-CR-219-GCM

                                                   )
UNITED STATES OF AMERICA                           )       AMENDED
                                                   )       ORDER
v.                                                 )
                                                   )
ANEWA TIARI-EL and LEANDRA SMITH                   )
                                                   )

        This matter is before the court upon remand from the Fourth Circuit Court of Appeals. In
conformity with the decision of the Fourth Circuit in this case, IT IS HEREBY ORDERED that
the Judgment entered on August 28, 2009 and amended on September 29, 2010 is AMENDED to
order restitution in favor of the IRS in the amount of $1,394,474.67 and that defendants, Anewa
Tiari-El and Leandra Smith, shall be jointly and severally liable for the restitution ordered.


                                               Signed: December 13, 2010




     Case 3:03-cr-00219-GCM-DCK          Document 293       Filed 12/13/10     Page 1 of 1
